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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

UNITED STATES OF AMERICA                              §
                                                      §
V.                                                    §           MAGISTRATE NO. H-06-743M
                                                      §
CARLOS RAMON PEREZ                                    §


                              ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. I conclude that the following facts are established by a preponderance of the evidence or clear
and convincing evidence and require the detention of the above-named defendant pending trial in this
case.

                                              Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)      The defendant has been convicted of a (federal offense) (state or local offense that
                  would have been a federal offense if a circumstance giving rise to federal jurisdiction
                  had existed) that is

                       []      a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                       []      an offense for which the maximum sentence is life imprisonment or death.

                       []      an offense for which a maximum term of imprisonment of ten years or
                               more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                               ( ) § 955(a).

                       []      a felony that was committed after the defendant had been convicted of two
                               or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                               (A)-(C), or comparable state or local offenses.

           [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                   pending trial for a federal, state or local offense.

           [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
                   of the defendant from imprisonment) for the offense described in finding 1.

           [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                   combination of conditions will reasonably assure the safety of any other person and the
                   community. I further find that the defendant has not rebutted this presumption.
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[X ]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

        [X] (1)       There is probable cause to believe that the defendant has committed an offense

                      [X]     for which a maximum term of imprisonment of ten years or more is
                              prescribed in 21 U.S.C.
                              (X) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                      []      under 18 U.S.C. § 924(c).

        [X] (2)       The defendant has not rebutted the presumption established by finding 1 that no
                      condition or combination of conditions will reasonably assure the appearance of
                      the defendant as required and the safety of the community.

[X]     C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

        [X] (1) Defendant is accused of a conspiracy to possess and possession with intent to distribute
                5 kilograms or more of cocaine, a Schedule II controlled substance.

        [X] (2) There is a serious risk that the defendant will flee.

        [X] (3)        Defendant represents a danger to the community.

        [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
                (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]     D.        Findings of Fact [18 U.S.C. § 3142(c)]

        [ ] (1) As a condition of release of the defendant, bond was set as follows:

        [ ] (2)

        [X] (3)       I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                      § 3142(c) which will reasonably assure the appearance of the defendant as
                      required.

        [X] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                § 3142(c) which will reasonably assure the safety of any other person or the
                community.


                              Written Statement of Reasons for Detention

        I find that the accusations in the criminal complaint, the information submitted in the Pretrial

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Services Agency report, and evidence at the detention hearing establish by a preponderance of the
evidence that no condition or combination of conditions will reasonably assure the appearance of the
defendant as required and by clear and convincing evidence that no conditions will assure the safety
of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

       1.      Defendant is a 21 year old United States citizen born in Rio Grande City, Texas. He
               grew up in Houston and his ex-wife and one child live in Houston. He lives with his
               parents and is in arrears on his child support obligations. He reportedly works as a
               helper at his father’s trucking company. Defendant’s father is currently on bond on
               federal charges of conspiracy pending in Kentucky.

       2.      Defendant is charged with possession with intent to distribute 5 kilograms or more of
               cocaine, a Schedule II controlled substance, an offense having a penalty range of 10
               years to life confinement.

       3.      Defendant has prior convictions for unlawful carrying of a weapon (as a juvenile),
               evading arrest with a motor vehicle, and is currently charged in state court for the same
               offense as this federal charge.

       4.      At the time of his arrest, a search behind defendant’s residence revealed a 2 kilogram
               package of cocaine. Evidence tying this defendant to the crime was substantial, and
               included his fingerprints on a bag containing a package of illegal drugs.

       5.      Defendant has not rebutted the statutory presumption that he is a flight risk and a
               danger to the community.

       6.      There is no condition or combination of conditions of release which would assure the
               appearance of the defendant in court or the safety of the community. Detention is
               ordered.




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                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.

        Signed at Houston, Texas, on November 3, 2006.




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